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             1     MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
             2     THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     2600 El Camino Real, Suite 400
                   Palo Alto, CA 94306
             5     Tel.: 650.858.6000 / Fax: 650.858.6100
             6     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             7     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8     One Front Street, Suite 3500
                   San Francisco, CA 94111
             9     Tel.: 628.235.1000 / Fax: 628.235.1001
           10      AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
           12      1875 Pennsylvania Ave NW
                   Washington, DC 20006
           13      Tel.: 202.663.6000 / Fax: 202.663.6363
           14
                   [Counsel appearance continues on next page]
           15
                   Attorneys for Defendant Apple Inc.
           16
                                   UNITED STATES DISTRICT COURT
           17
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S OPPOSITION TO
                   a Delaware corporation,                       PLAINTIFFS’ MOTION FOR
           21                                                    PARTIAL SUMMARY JUDGMENT
                                       Plaintiffs,
           22                                                    Date: Feb. 6, 2023
                         v.
           23                                                    Time: 1:30pm
                   APPLE INC.,
           24      a California corporation,
                                                                 Pre-Trial Conference: Mar. 13, 2023
           25                          Defendant.                Trial: Mar. 28, 2023
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                         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1     SARAH R. FRAZIER, pro hac vice
                    sarah.frazier@wilmerhale.com
             2     WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             3     60 State Street
                   Boston, MA 02109
             4     Tel.: 617.526.6000 / Fax: 617.526.5000
             5     NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
             6     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             7     1225 Seventeenth Street, Suite 2600
                   Denver, CO 80202
             8     Tel.: 720.274.3152 / Fax: 720.273.3133
             9     BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
           10      GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
           11      New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
           12
                   KENNETH G. PARKER, SBN 182911
           13       Ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           14      660 Anton Boulevard, Suite 700
                   Costa Mesa, CA 92626
           15      Tel.: 650.949.3014 / Fax: 949.202.3001
           16
           17
           18
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             1                                            INTRODUCTION
             2           Plaintiffs ask this Court to grant summary judgment on a trade secret claim that
             3     Plaintiffs have asserted is worth billions of dollars without providing admissible
             4     evidence sufficient to support their claim—much less the kind of evidence so powerful
             5     that no reasonable jury would be free to disbelieve it. The motion should be rejected
             6     for numerous reasons.
             7           As to possession, Plaintiffs fail to quote or even summarize their purported
             8     secrets, leaving this Court to sift through their “detailed analysis” of their supposed
             9     secrets in a nearly 100-page expert declaration, Dkt. 1098 (“Mot.”) 8 n.2. In addition
           10      to improperly requiring this Court to sort through a mountain of information, that
           11      declaration improperly includes new opinions and arguments not disclosed during
           12      expert discovery. See generally Dkt. 1124 (Apple’s motion to strike portions of
           13      Madisetti declaration). Even if Madisetti’s declaration is not struck, he necessarily
           14      lacks personal knowledge to establish that Plaintiffs possessed the purported secrets at
           15      the time of Apple’s alleged misappropriation, and Plaintiffs have otherwise failed to
           16      provide the requisite evidence of possession. For example, Plaintiffs’ FRCP 30(b)(6)
           17      witness on the purported secrets at issue here took the position during his deposition
           18      that he could not identify a “
           19                                 ” See Ex. H at 23:21-24:3; see also, e.g., Dkt. 959 at 4-5
           20      (collecting examples where Diab refused to discuss any aspect of Plaintiffs’ alleged
           21      trade secrets).
           22            At a minimum, genuine disputes of material fact remain for all other aspects of
           23      Plaintiffs’ trade secrets claim. First, the purported secrets do not “derive independent
           24      economic value from not being [generally] known,” Cal. Civ. Code § 3426.1(d), as
           25      they are nothing more than wordy recitations of well-known concepts that are
           26      valueless to both Plaintiffs and Apple. It is undisputed, for example, that Apple does
           27      not sell any product that uses the purported secrets, and Plaintiffs’ own employee has
           28
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             1     conceded that ideas like “
             2
             3
             4                                                      ” are publicly-known concepts. See Ex.
             5     F at 83.
             6           Second, Plaintiffs have not established that they took “efforts that are reasonable
             7     under the circumstances,” Cal. Civ. Code § 3426.1(d)(2), to safeguard the secrecy of
             8     the specific purported secrets at issue here. While Plaintiffs identify general measures
             9     they claim to use to keep their confidential information secret, they have failed to
           10      identify specific measures that they took to protect         Nos. 9-15. Moreover,
           11      Plaintiffs’ suggestion that
           12
           13
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           15
           16            Finally, Plaintiffs have not established that Apple misappropriated the purported
           17      secrets or that they were harmed by that supposed misappropriation. As to
           18      misappropriation, for example, Plaintiffs stake their case for         Secrets Nos. 10-15
           19      on the theory that U.S. Patent No.                                              verbatim.
           20      But, as noted, Plaintiffs have presented no evidence that any of the purported secrets
           21      were in their possession before this litigation and Plaintiffs’ CEO conceded under oath
           22      that Plaintiffs’ outside counsel had “
           23                                                             .” Ex. D at 98:10-14. In other
           24      words, Plaintiffs could have easily
           25             rather than the other way around. And as to harm, Plaintiffs have offered no
           26      concrete explanation for why they have been harmed by the disclosure of information
           27      that Apple does not use—particularly given that Madisetti has opined that, even to this
           28
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             1     day, none of the purported secrets disclosed in the                  are generally known.
             2     Ex. J at 135-137.
             3                                                 ARGUMENT
             4              To prevail at summary judgment, a moving party “who also bears the burden of
             5     persuasion on the issue in question must show that the evidence is so powerful that no
             6     reasonable jury would be free to disbelieve it.” City of L.A. v. Travelers Indemnity
             7     Co., 2022 WL 16841704, at *2 (C.D. Cal. Nov. 2, 2022). The non-moving party may
             8     prevail either by “support[ing] the assertion [that genuine issues of material fact
             9     remain] by citing to particular parts of materials in the record” or “show[ing] that the
           10      materials cited [by the moving party] do not establish the absence … of a genuine
           11      dispute, or that an adverse party cannot produce admissible evidence to support the
           12      fact.” See Fed. R. Civ. P. 56(c)(1); accord Balboa Capital Corp. v. Shaya Med. P.C.
           13      Inc., 2022 WL 16894837, at *3 (C.D. Cal. Aug. 25, 2022).1
           14      I.       PLAINTIFFS HAVE NOT ESTABLISHED OWNERSHIP OR EVEN POSSESSION
           15               A.     Plaintiffs Have Not Even Attempted To Show Ownership Of The
           16                      Purported Secrets
           17               CUTSA plaintiffs must “show [they] owned the trade secret.” See, e.g., AMN
           18      Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923, 942 (2018)
           19      (emphasis added); Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 960 (C.D. Cal.
           20      2011) (same). This Court has stated in this very litigation that a trade secret plaintiff
           21      must “demonstrate: (1) the plaintiff owned a trade secret.” E.g., Dkt. 264 at 4.
           22      Because Plaintiffs have not provided any evidence of ownership, summary judgment
           23      should be denied.
           24
           25
                   1
           26        Plaintiffs are wrong to assert that Apple must “demonstrate with admissible evidence
                   that issues of material fact remain.” Mot. 7 (citing Matsushita Elec. Indus. v. Zenith
           27      Radio Corp., 4785 U.S. 574, 585-586 (1986)). That test applies when the non-moving
                   party would have the burden of proof at trial.
           28
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             1               While Plaintiffs assert (without explanation) that it is sufficient to show
             2      “possession,” they do not identify any authority supporting that proposition. Mot. 7-8.
             3      To the contrary, the sole case they cite for the proper legal standard states that “a prima
             4      facie claim for misappropriation of trade secrets requires the plaintiff to demonstrate:
             5      (1) the plaintiff owned a trade secret.” Sargent Fletcher, Inc. v. Able Corp., 110 Cal.
             6      App. 4th 1658, 1665 (2003), cited in Mot. 7. Moreover, the law applies the
             7      “ownership” framework for a good reason—“[i]t is the owner at the time of the injury
             8      who will ordinarily suffer the loss of value or cost of replacement or repair, and who
             9      will thus need the compensatory remedy that the law offers.” Jasmine Networks Inc. v.
           10       Superior Court, 180 Cal. App. 4th 980, 993 (2009). Adopting the “possession”
           11       framework that Plaintiffs urge, on the other hand, could result in a windfall for
           12       someone who incurred no loss—e.g., an employee who developed a trade secret for the
           13       employer under an assignment agreement.2
           14                B.     Plaintiffs Have Not Shown They Possessed The Purported Secrets
           15                In any event—and as Apple’s cross-motion for summary judgment explains—
           16       Plaintiffs cannot demonstrate that they possessed any of the purported              secrets.
           17       See, e.g., Dkt. 1101 at 3-5. The arguments raised in Plaintiffs’ motion do not change
           18       this calculus, much less show that the evidence of possession “is so powerful that no
           19       reasonable jury would be free to disbelieve it,” such that summary judgment in their
           20       favor is warranted. Shakur v. Schriro, 514 F.3d 878, 890 (9th Cir. 2008).
           21                As an initial matter, the only support that Plaintiffs’ “Statement of
           22       Uncontroverted Facts” proffers for the broad assertion that Plaintiffs “
           23                                                                                            ” is two
           24       paragraphs apiece from the Kiani and Diab declarations. See Dkt. 1098-1 at 1 (SUF
           25
           26       2
                      Plaintiffs cannot reasonably claim that they lacked notice of the ownership
           27       requirement such that they should be able to address the issue in the first instance in
                    their reply, as Apple raised the issue months ago. See Dkt. 1097 at 2-5.
           28
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             1      No. 3).3 Neither declaration even uses the term “trade secret” or provides anything
             2      more than conclusory and/or high-level assertions about Plaintiffs’ purported secrets—
             3      even though the secrets as drafted                               . Compare Dkt. 1098-12
             4      (“Kiani Decl.”) ¶¶ 7-8 and Dkt. 1098-13 (“Diab Decl.”) ¶¶ 20, 31 with Ex. 67 at 1334-
             5      1336.
             6              For example, Kiani states merely that Plaintiffs “
             7
             8                                                                       .” Kiani Decl. ¶ 7. Diab
             9      similarly describes a high-level “technique” (i.e., “
           10
           11                                                                  ”), Diab Decl. ¶ 20, without
           12       explaining how each step of the purported secrets at issue here were created. Such
           13       “conclusory, self-serving” statements in a declaration are “insufficient to create a
           14       genuine issue of material fact,” FTC v. Publishing Clearing House, Inc., 104 F.3d
           15       1168, 1171 (9th Cir. 1997), much less show Plaintiffs are entitled to judgment as a
           16       matter of law. Indeed, despite being designated as Plaintiffs’ FRCP 30(b)(6) witness
           17       on the topic of Plaintiffs’ “
           18
           19                                                                         , Ex. H at 209-216.4
           20               Plaintiffs fare no better even if this Court chooses to look beyond Plaintiffs’
           21       SUF to the materials cited only in Plaintiffs’ brief.
           22
                    3
           23         “Presenting all material facts in the []SUF is important: it safeguards against
                    obfuscation and overreaching by the moving party … and ensures that the facts are
           24       parsed out reasonably and presented in a format the opposing party and the Court can
                    easily examine.” Lushe v. Verengo, Inc., 2014 WL 5794627, at *3 & n.2 (C.D. Cal.
           25       Oct. 22, 2014).
                    4 While paragraph 29 of Diab’s declaration
           26
           27       without specifying (1) when each element was developed or (2) whether Plaintiffs
                    possessed that purported secret before this litigation.
           28
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             1                   1.            Trade Secrets Nos. 10-15
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             4                                            .” See Ex. 67 at 1335.          Nos. 11-15 are all
             5      variations of No. 10. Id. at 1336. For example,
             6
             7
             8
             9
           10             Plaintiffs makes no real attempt to meet their burden to show that they possessed
           11             No. 10 (and thus necessarily does not show that they possessed Nos. 11-15,
           12       which depend on it). Mot. 11. Plaintiffs’ only argument is their passing comment that
           13       the Madisetti declaration establishes that “
           14                                                                                           .” Id.
           15       This assertion is triply flawed.
           16             First, “[a]rguments made in passing and inadequately briefed are waived.”
           17       Autotel v. Nevada Bell Tel. Co., 697 F.3d 846, 857 n.9 (9th Cir. 2012); see also DMF
           18       Inc. v. AMP Plus, Inc., 2020 WL 4194099, at *2 n.1 (C.D. Cal. July 17, 2020)
           19       (argument pressed “in seven paragraphs of its expert report” filed with summary
           20       judgment motion not “adequately raised”).
           21             Second, while         No. 9 and          No. 10 involve the same basic type of
           22       technology, Plaintiffs are incorrect that Madisetti’s declaration suggests that
           23       possession of one is possession of the other. The alleged secrets are substantively
           24       different
           25                                                                   Ex. 67 at 1334-1335, and
           26       Madisetti’s declaration does not assert that possession of         No. 9 constitutes
           27       possession of No. 10, see Dkt. 1098-8 (“Madisetti Decl.”) ¶¶ 154-173.
           28
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             1            Third, and most notably, Madisetti’s declaration is not proper evidence at the
             2      summary judgment stage for a multitude of reasons. For example, Madisetti’s
             3      declaration improperly includes new opinions and relies on new evidence absent from
             4      his reports served before the expert discovery cut-off—apparently in an attempt to
             5      provide an improper sur-rebuttal to Apple’s expert’s rebuttal. See Dkt. 1124-1 at 13-
             6      17 (motion to strike under FRCP 37(c)(1); see also Dkt. 1124-10 (document
             7      identifying new opinions and evidence in Madisetti declaration). Even setting aside
             8      FRCP 37(c)(1), Madisetti’s new arguments should be excluded under the sham
             9      affidavit doctrine, which bars the use of declarations that contradict deposition
           10       testimony at the summary judgment stage. See Yeager v. Bowlin, 693 F.3d 1076, 1080
           11       (9th Cir. 2012). Here, Madisetti testified that his reports
           12
           13
           14                              Ex. J at 10:17-11:7. This “clear and ambiguous” statement,
           15       Yeager, 693 F.3d at 1080, cannot be squared with Madisetti’s subsequent decision to
           16       expand his opinions—particularly where he offered no explanation for his shift in
           17       position, see Payan v. Los Angeles Cmty. Coll. Dist., 2018 WL 6164269, at *8 n.5
           18       (C.D. Cal. Oct. 16, 2018) (declaration inadmissible where expert testified at deposition
           19       that she had no disagreements with other side’s expert report, but “state[d] the exact
           20       opposite” in her declaration).
           21             Madisetti’s declaration is infirm for another reason: Plaintiffs cannot rely on the
           22       declaration of an expert who has “no personal knowledge of the events” (here, whether
           23       Plaintiffs possessed the purported secrets at the time of supposed misappropriation)
           24       “for the proposition that th[o]se facts occurred.” Kaur v. City of Lodi, 263 F.Supp.3d
           25       947, 977 (E.D. Cal. 2017) (collecting cases); accord Wilborn v. CarMax Auto
           26       Superstores, 2017 WL 6940653, at *7 (C.D. Cal. Dec. 11, 2017) (similar). Here, there
           27       is no reasonable argument that Madisetti has personal knowledge regarding
           28
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             1      development or possession. He testified that he was
             2
             3
             4                                                                                         Ex. J at
             5      81:22-82:10. He could not answer whether the purported secrets were ever recorded or
             6      otherwise captured in a single place before this litigation. Id. at 81-87. And although
             7      his declaration asserts                                          in its entirety, e.g.,
             8      Madisetti Decl. ¶ 154, he has admittedly never seen the device or tested it to determine
             9      its functionality, Ex. J at 110-113. Finally, while Madisetti relies on snippets of what
           10       he describes as                           to show use of        No. 10, e.g., Madisetti
           11       Decl. ¶¶ 156-173, he lacks personal knowledge regarding the origin of the source code
           12       he relies upon—nor have Plaintiffs put an authenticated version of the source code for
           13       the            into the summary judgment record.
           14             Finally, many of Madisetti’s assertions regarding how the                practices the
           15       various steps of          No. 10 are nothing more than “broad conclusory statements”
           16       that do not constitute “evidence.” Carl Zeiss A.G. v. Nikon Corp., 2018 WL
           17       11342771, at *2-3 (C.D. Cal. Nov. 14, 2018). For example, in stating that
           18
           19                                                                         —all without
           20       explanation. Madisetti Decl. ¶¶ 169-170, 172. Moreover, while Madisetti broadly
           21       asserts that
           22
           23                                                                           Ex. P at ¶ 333.
           24                      2.           Trade Secret No. 9
           25             Plaintiffs’ possession analysis for        No. 9 also depends on the Madisetti
           26       declaration. Specifically, while Plaintiffs reference preliminary work done by Walt
           27       Weber, Marcelo Lamego, and Jeroen Poeze, they do not identify any contemporaneous
           28
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             1      statement or document from those three individuals that recites the full,
             2      alleged secret. See Mot. 8-11.5 Instead, even Plaintiffs concede that they can only
             3      show possession by
             4
             5                                                                               Moreover, while
             6      Plaintiffs baldly assert that
             7
             8
             9
           10
           11       Dkt. 1098-11 (“Poeze Decl.”) ¶¶ 3, 6; see also Ex. P at ¶ 291 (Apple expert report).
           12                Plaintiffs must accordingly rely on Madisetti to show they are entitled to
           13       judgment as a matter of law, and his declaration suffers from the flaws described
           14       above. It includes new opinions in contravention of Madisetti’s deposition testimony
           15       that his reports contain all his opinions—most notably, the assertion that            No. 9
           16       was
           17                                 . See Madisetti Decl. ¶ 85; see also Dkt. 1124-10 (identifying
           18       paragraphs 62-65, 67, 70, and 72-87 as containing new opinions/evidence). The
           19       declaration goes beyond Madisetti’s personal knowledge, for example by laying out a
           20       “[d]evelopment [t]imeline” for the purported             secrets. See Madisetti Decl. ¶¶ 41-
           21       46, 49. And the declaration relies on conclusory statements, such as Madisetti’s
           22       suggestion that the                                                                        (an
           23       assertion that contains no explanation and does not even recite the full step). Compare
           24       Ex. 67 with Madisetti Decl. ¶ 70.
           25
                    5
                     Plaintiffs place emphasis on a 2006 email from Lamego. Mot. 4, 9, 14, 21 (citing Ex.
           26
                    1). That email, however, references only a single
           27
           28
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             1      II.      PLAINTIFFS HAVE NOT ESTABLISHED THE PURPORTED SECRETS HAVE
             2               INDEPENDENT ECONOMIC VALUE FROM NOT BEING GENERALLY KNOWN
             3               For each purported secret, Plaintiffs must show both that the secret (1) was not
             4      generally known and (2) derived independent economic value as a result. See Mattel,
             5      782 F. Supp. at 959 (“considering the evidence as to each trade secret” in assessing
             6      whether summary judgment should be granted on these questions); see also Brocade
             7      Commc’ns Sys., Inc. v. A10 Networks, Inc., 873 F. Supp. 2d 1192, 1214 (N.D. Cal.
             8      2012) (damages expert’s analysis “of the value of Trade Secrets 1-19” and “summar[y
             9      of] the benefit conferred by each of these trade secrets” created a genuine issue of
           10       material fact). Because Plaintiffs have failed to brief whether each purported
           11       secret at issue has independent economic value or is generally known—and instead
           12       simply refer to the “         trade secrets” in the aggregate, e.g., Mot. 14—they have
           13       waived the right to present such an argument, see Autotel, 697 F.3d at 857 n.9, and
           14       thus cannot carry their burden.6 Regardless, the arguments Plaintiffs do make are
           15       unavailing.
           16                A.     Generally Known
           17                Plaintiffs provide just three arguments for why the purported           secrets are
           18       not generally known, all of which fail.
           19                First, Plaintiffs cite two emails from Lamego. Mot. 14 (citing Exs. 1, 35). But
           20       neither describes any purported trade secret. Exhibit 1 mentions a single
           21       technique that Plaintiffs have not claimed as a secret. See supra n.5. Exhibit 35
           22       merely shows that Lamego submitted a single patent application on the general topic of
           23       “                                                                  ” while working at Apple.
           24       Ex. 35. Plaintiffs’ own witness has acknowledged that the basic idea
           25                                 is a well-known concept, supra pp. 1-2, and Plaintiffs themselves
           26
                    6
           27        Madisetti’s declaration includes assertions regarding whether each trade secret was
                    generally known, but that is insufficient for preservation. See supra p. 6.
           28
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             1      have several patents on that technology that issued years before the alleged
             2      misappropriation, see, e.g., Ex. Y at 10:14-23 (Plaintiffs’ patent springing from
             3      application published in 2011 describing “demodulation module” that reduces
             4      “crosstalk”); Ex. CC (Plaintiffs’ 2001 patent entitled “Method and Apparatus for
             5      Demodulating Signals In A Pulse Oximetry System”).
             6            Second, Plaintiffs argue that Apple has previously conceded that all purported
             7            secrets were non-obvious in a filing with the Patent Office. Mot. 14-15. The
             8      passage Plaintiffs cite, however, refers to                                    . Compare
             9      Ex. 37 at 786 with Ex. 67 at 1335. Moreover, Plaintiffs misrepresent Apple’s position,
           10       which was that the examiner had erred by finding that two specific references (Diab
           11       and McCarthy) rendered the claimed invention obvious. Here, Apple has put forth
           12       evidence that a different reference—i.e.,
           13                   —established that the first step was generally known. See Ex. O ¶ 180.
           14       Finally, even if Plaintiffs were right on the facts, they are wrong on the law; the sole
           15       case they cite states only that a representation to the Patent Office of non-obviousness
           16       provided “some evidence” to support the jury’s verdict that the secret was not
           17       generally known. Altavion, Inc. v. Konica Minolta Sys. Lab., Inc., 226 Cal. App. 4th
           18       26, 63 (2014). That is a far cry from Plaintiffs’ burden to provide evidence so
           19       compelling that no jury—reading the facts in the light most favorable to Apple—could
           20       rule in Apple’s favor.
           21             Third, Plaintiffs suggest in passing (and without analysis) that Diab’s and
           22       Madisetti’s declarations show the purported secrets were not generally known. Such a
           23       conclusory argument is insufficient to preserve the issue. See supra p. 6. But even if it
           24       was, Diab’s declaration states only that he
           25                                                                      . Diab Decl. ¶¶ 29-30.
           26       Plaintiffs’ own case law provides that the test is whether the trade secret has become
           27       generally known to “potential competitors or other persons to whom the information
           28
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             1      would have some economic value,” Kittrich Corp. v. Chilewich Sultan, LLC, 2013 WL
             2      12131376, at *4 (C.D. Cal. Feb. 20, 2013), and Diab notably conceded during his
             3      deposition that
             4
             5
             6
             7             Madisetti’s declaration fares no better. Like Diab, he admitted during his
             8      deposition that he had not spoken to anyone (or reviewed written materials) from any
             9      of Plaintiffs’
           10                                                                        And although Plaintiffs
           11       have the burden on the issue, his only explanation for why            Nos. 11-15 are not
           12       generally known is that Apple’s expert has not identified references that show the
           13       secrets were generally known. See Madisetti Decl. ¶¶ 197, 206, 214, 220, 226. This
           14       was improper and deprives his testimony of any weight. See Atmel Corp. v. Info.
           15       Storage Devices, Inc., 189 F.R.D. 410, 416-417 (N.D. Cal. 1999) (excluding proposed
           16       expert testimony on “generally known” where plaintiffs’ expert failed to perform “a
           17       survey of literature or other research” and instead relied on his “unrefreshed
           18       recollection of his individual experience in the industry”).
           19              For         Nos. 9 and 10, Madisetti relies on two additional points. He first
           20       repeats Plaintiffs’ assertion that the fact that Apple
           21                    is proof that the purported secrets were not generally known. Madisetti
           22       Decl. ¶¶ 153, 185. But as explained, the existence of a related patent is not dispositive
           23       proof that a secret is not generally known, see supra p. 11, and in any event, the patent
           24       validity analysis is different from the “generally known” analysis, Ex. M at 476-477.
           25       Madisetti also relies on the Kiani and Diab declarations to opine that Plaintiffs’
           26                                                                  and they would not have gone to
           27       that trouble if the       secrets were generally known. Madisetti Decl. ¶¶ 152, 186;
           28
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             1      see also Ex. K at 341-342 (Madisetti testifying that his understanding regarding
             2      Plaintiffs’ spending on their technology was “
             3                              ). Madisetti does not cite any specific paragraph from either
             4      declaration for this point, likely because neither supports his assertion. Both state only
             5      that Plaintiffs have devoted “
             6                                                          .” Diab Decl. ¶ 31 (emphasis added);
             7      accord Kiani Decl. ¶ 7 (similar). This distinction between “
             8                ” is important because the former is broad enough to encompass technology that
             9      was subsequently patented, as well as purported secrets not at issue in this motion. In
           10       fact, Madisetti conceded during his deposition that the                              estimate
           11       that appeared in his prior reports did not mean that
           12                                                              Ex. J at 129-133. Rather, the number
           13       included
           14
           15                                                                              Id.7
           16                In any event, even if Plaintiffs had provided sufficient evidence to meet their
           17       initial burden, whether the purported secrets are generally known is a hotly disputed
           18       issue of fact. As Apple’s expert has explained,
           19                                                                                                  .
           20       See Ex. O at ¶¶ 132-240; Ex. P at ¶¶ 95-120, 300-308, 341-347, 376-383, 412-418,
           21       447-453, 482-489, 518-525; see also Exs. T-FF (key documents relied upon in expert’s
           22
           23
           24
           25       7  Madisetti also urges this Court to place weight on the fact that Apple supposedly
           26                                                                 Madisetti Decl. ¶¶ 152, 18
                     However, he provides no support for this assertion nor is there any in the record—
           27       Apple hired Lamego for his general technical expertise, not for any specific
                    technology. See also infra p. 19 (discussing terms of Lamego’s offer).
           28
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             1      “generally known” analysis).8 Plaintiffs preemptively argue that Apple’s expert’s
             2      approach to determining what is “generally known” is flawed because his analysis for
             3      each trade secret relies on multiple references. Mot. 15-16. But Plaintiffs are once
             4      again wrong on the law, as their sole authority dealt with the narrow situation of
             5      “combination” trade secrets—i.e., “‘where the elements are in the public domain, but
             6      there has been accomplished an effective, successful, and valuable integration of the
             7      public domain elements’” that give the claimant “a competitive advantage.” Altavion,
             8      226 Cal. App. 4th at 47 (quoting Rivendell Forest Prods. v. Georgia-Pacific, 28 F.3d
             9      1042, 1043 (10th Cir. 1994)). To the extent Plaintiffs are pressing combination
           10       secrets, they have not attempted to make that requisite showing here.9
           11                B.     Independent Economic Value
           12                At summary judgment, courts have explained that “[i]nformation derives
           13       independent economic value from not being generally known when its secrecy
           14       provides a business with a ‘substantial business advantage.’” Mattel, 792 F. Supp. 2d
           15       at 959; accord International Med. Devices, Inc. v. Cornell, 2022 WL 17082090, at *7
           16       (C.D. Cal. Sept. 26, 2022) (a “secret must be ‘sufficiently valuable and secret to afford
           17       an actual or potential economic advantage over others’”).
           18                Plaintiffs have not met their burden. They again assert the purported secrets
           19       must be valuable because Plaintiffs spent
           20                                                           , Mot. 14, but it is not clear what, if any,
           21       portion of that spending went to the alleged secrets at issue here, supra pp. 12-13.
           22
           23
                    8
           24        This same evidence also supports Apple’s affirmative defense that the purported
                    secrets are readily ascertainable because Apple “could have” relied on publicly
           25       available documents to replicate Plaintiffs’ purported secrets. See San Jose
                    Construction, Inc. v. SBCC, Inc., 155 Cal. App. 4th 1528, 1543 (2007).
           26       9
                     Plaintiffs also cite two decades-old cases that the patent-law concept of obviousness
           27       does not apply in trade secret litigation. Mot. 15-16. Neither Apple nor its expert has
                    argued that it does.
           28
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             1             Plaintiffs also cite conclusory statements in the Diab and Kiani declarations for
             2      the proposition that the purported secrets have improved Plaintiffs’ technology (e.g.,
             3                                                                                   Mot. 14.
             4      Again, however, neither Kiani nor Diab attributes those benefits to the supposed
             5      secrets at issue in this motion or even this litigation; they just assert Plaintiffs’
             6      techniques—many of which are patented and thus public knowledge—convey those
             7      benefits. See Kiani Decl. ¶ 7, Diab Decl. ¶ 30; see supra p. 11 (citing exemplar
             8      patents). The declarations do not even explain why Plaintiffs’             techniques are
             9      important to the lone Plaintiffs’ product that their expert asserts
           10                                Id. To the contrary, during his deposition, Kiani could not
           11                                                                                         . Ex. D at
           12       229-230.
           13              Finally, Plaintiffs argue the purported secrets are “valuable” simply because
           14       they are secret. Mot. 14. That is not the test. Rather, Plaintiffs must show the
           15       supposed secrets provide a business advantage from being kept secret. Supra p. 14.
           16       III.   PLAINTIFFS HAVE NOT ESTABLISHED REASONABLE EFFORTS
           17              “The determination of whether information is the subject of efforts that are
           18       reasonable under the circumstances to maintain its secrecy is fact specific,” and a
           19       plaintiff must tie its efforts to the particular information claimed to be a trade secret.
           20       Mattel, 782 F. Supp. 2d at 959. Accordingly, “[w]hether a company has taken
           21       reasonable efforts to protect its trade secrets is a ‘quintessentially fact-specific’
           22       inquiry” that can only be resolved on summary judgment “‘in an extreme case.’”
           23       Palantir Techs. Inc. v. Abramowitz, 2022 WL 2952578, at *4 (N.D. Cal. July 26,
           24       2022); see HiRel Connectors, Inc. v. United States, 2005 WL 4958547, at *4 (C.D.
           25       Cal. Jan. 4, 2005) (similar).
           26              Plaintiffs have not carried their burden. They point to a number of general
           27       workplace policies regarding information security, but fail to tie those efforts to the
           28
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             1      seven purported secrets at issue in this motion.
             2
             3
             4
             5                                                                                    (Mot. at 16-
             6      17) can all be “relevant” to the reasonableness of Plaintiffs’ efforts to maintain the
             7      secrecy of their information generally. Mattel, 782 F. Supp. 2d at 959. But that is not
             8      the question before the Court—what Plaintiffs must demonstrate for liability is the
             9      reasonableness of their efforts to protect the claimed trade secrets. Id.10
           10                This distinction between general and specific measures is particularly important
           11       in this case, where
           12
           13                                                                          See Ex. G at 56-57
           14
           15
           16
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           18
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           20
                               11
           21                       Even the Masimo employee whom Plaintiffs have identified as the most
           22
                    10
                         Plaintiffs note in passing that Lamego
           23                                                                                          Mot.
                     17; Ex. 43. That a single email is the best evidence they can muster to show t hey kept
           24       the purported       secrets confidential is a telling indication that they did not
                    undertake broader efforts.
           25
                    11 Plaintiffs are flat wrong that paragraphs 30-31 of the Diab declaration show
           26
           27
                                                                                         (Cont’d on next page)
           28
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             1      knowledgeable about their security policies (Bilal Muhsin) failed to identify any
             2
             3                                                                                 Ex. F at 106-
             4      107; id. at 103 (
             5              ). As Plaintiffs’ CEO summarized: “
             6
             7
             8
             9
           10              This lack of guidance regarding what information constitutes a trade secret
           11       renders Plaintiffs’ more general security measures (e.g.,
           12                   ) “largely meaningless.” Mattel, 782 F. Supp. 2d at 959; see also SPS
           13       Techs., LLC v. Briles Aerospace, Inc., 2021 WL 5785264, at *9 (C.D. Cal. Sept. 3,
           14       2021) (at summary judgment, that Plaintiffs had “rules and policies protecting all
           15       confidential information” did not resolve whether they had employed reasonable
           16       efforts).
           17       IV.    PLAINTIFFS HAVE NOT ESTABLISHED MISAPPROPRIATION
           18              A.    Plaintiffs’ Acquisition Theory
           19              Plaintiffs argue that Lamego’s research and refinement of
           20                       technology while at Apple shows improper acquisition, Mot. 17-20, but
           21       they fail to connect the work he did to the seven specific secrets at issue here. Instead,
           22       they fall back once again on the sleight of hand of treating any reference to
           23
           24
           25
           26
           27
           28
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             1                ). As discussed above, the basic idea of                                       was
             2      well known prior to this litigation—in part because of Plaintiffs’ own patents and in
             3      part due to well-known concepts originally developed by others. See supra pp. 10-14.
             4              Plaintiffs’ only attempt to link Lamego’s work to the purported secrets once
             5      again comes through citations to the Madisetti declaration, which they claim verifies
             6      that
             7                                                  . Mot. 20-21. As an initial matter,
             8      Madisetti’s declaration does not even attempt to
             9
           10
           11                                                                    And even as for         No. 9,
           12       Madisetti fails to point to any single document that lists the purported secret or
           13       explains his position beyond the conclusory assertion that it is his “opinion” that Apple
           14       possessed         No. 9 “based on my review of the evidence and testimony.” Madisetti
           15       Decl. ¶ 113.12 In any event, Madisetti’s declaration at best raises a question of
           16       disputed fact, as (1) Apple’s expert has surveyed the evidence and concluded Apple
           17       uses a different technique
           18                                           No. 9 is supposed to mitigate, see Ex. P ¶ 317
           19       (collecting citations), and (2) Lamego has testified
           20                                                                                           , see Ex.
           21       17 at 161-165. While Plaintiffs complain Lamego did not speak as clearly as they
           22       would have preferred, Mot. 21, the testimony read in the light most favorable to Apple
           23       is evidence that Lamego performed the relevant work as an Apple employee and
           24       without the assistance of, for example, Diab, Weber, or Poeze.
           25
           26
                    12   Madisetti’s subsequent suggestion at paragraph 115 that Exhibit 55 includes

           27                                                                       see Dkt. 1124-10 at 15
                    see also supra p. 7 (discussing sham affidavit rule).
           28
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             1            Finally, even if Plaintiffs could demonstrate Apple acquired the purported
             2      secrets, there remains a genuine dispute of material fact over whether Apple knew or
             3      had reason to know Lamego had acquired those secrets through improper means. Cal.
             4      Civ. Code § 3426.1(b)(1). “Questions involving … whether a party knew or should
             5      have known of a particular condition[] are generally … inappropriate for resolution by
             6      summary judgment.” Braxton-Secret v. A.H. Robins Co., 769 F.2d 528, 531 (9th Cir.
             7      1985). Lamego, like all new hires, was required to sign both an
             8
             9
           10
           11
           12
           13             While Plaintiffs point to the fact that Apple was warned (at a high level) that
           14       Lamego was aware of Plaintiffs’ alleged secrets, Mot. 22, the most natural inference is
           15       that Apple assumed that Lamego would
           16                        Braxton-Secret, 769 F.3d at 531 (summary judgment inappropriate
           17       where “contradictory inferences may be drawn from” even undisputed facts). And
           18       Plaintiffs’ assertion that Apple supposedly paid Lamego
           19                                                                  , Mot. 22, is both speculative
           20       and misleading. As Plaintiffs’ own evidence shows, Lamego received an offer that
           21       was roughly                                                       , Ex. 31—a miniscule
           22       fraction of the billions of dollars Plaintiffs claim each of their secrets is worth.
           23
           24
           25       13
                      This answers Plaintiffs’ suggestion that Apple can be held liable under respondeat
                    superior. Mot. 22 n.4. That applies when an employee’s improper act was at least “in
           26       a general way, foreseeable from his duties.” Language Line Servs., Inc. v. Language
           27       Servs. Assoc., 2010 WL 2764714, at *3 (N.D. Cal. 2010). Here,                    e
           28
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             1            B.     Plaintiffs’ Use/Disclosure Theory
             2            Plaintiffs claim that Apple used and disclosed the alleged trade secrets by filing
             3      and obtaining                  . Mot. 22-24 (citing Cal. Civ. Code
             4      §3426.1(b)(2)(B)(iii)). But this theory of misappropriation, too, requires Plaintiffs to
             5      show Apple “knew or had reason to know” that Lamego had an obligation to keep the
             6      purported        secrets confidential, Cal. Civ. Code §3426.1(b)(2)(B), and Apple’s
             7      state of mind is at best a disputed fact. Supra p. 19.
             8            Regardless, Plaintiffs have not established the requisite overwhelming evidence
             9      of use/disclosure needed to prevail at summary judgment. While
           10                                             , the most natural inference to draw from that
           11       overlap is Plaintiffs copied the patent in drafting their purported trade secrets for this
           12       litigation. As noted, Plaintiffs have not presented any evidence that          Nos. 10-15
           13       were written down in a single place prior to this case. See supra pp. 4-8. And
           14       Plaintiffs’ CEO had admitted both that
           15
           16                                                        Ex. D at 42, 97-98; see also, e.g., Ex. J
           17       at 209-210 (Madisetti conceding he does not
           18
           19             Finally, while Plaintiffs argue
           20             , their only support for this position comes from passages from the Madisetti and
           21       Poeze declarations that should be struck under FRCP 37(c)(1). Dkt. 1124 (Apple’s
           22       motion to strike). At a minimum, because Madisetti’s opinion on this issue goes
           23       beyond the bounds of his report, it should be ignored, struck, or both under the sham
           24       affidavit doctrine. See supra p. 7.
           25       V.    PLAINTIFFS HAVE NOT ESTABLISHED HARM
           26             Finally, Plaintiffs have failed to establish Apple’s “actions damaged” Plaintiffs.
           27       CytoDyn, Inc., v. Amerimmune Pharms., Inc., 160 Cal. App. 4th 288, 297 (2008);
           28
                     APPLE’S OPPOSITION TO PLAINTIFFS’ MOT. FOR PARTIAL S.J.
Wilmer Cutler
                                                                20             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1130 Filed 01/12/23 Page 27 of 29 Page ID
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             1      Sargent, 110 Cal. App. 4th at 1668. Plaintiffs first assert they have been harmed
             2      simply because Apple purportedly possesses their secrets and might assert them
             3      against Plaintiffs in the future. Mot. 24. But Apple’s “possession alone is insufficient
             4      to entitle Plaintiff[s] to summary judgment,” Thomas Petroleum, LLC v. Lloyd, 2012
             5      WL 4511369, at *11 (E.D. Cal. Oct. 2, 2012), and even Plaintiffs’ own case law
             6      (Sargent) requires a showing of past harm—not speculative harm that might occur in
             7      the future.
             8            Plaintiffs relatedly assert that their competitors might
             9                                                 . Mot. 24. But even Madisetti has conceded
           10       he does not know whether anyone other than Apple or Plaintiffs has, to date, acquired
           11       any knowledge of Plaintiffs’ purported secrets. Ex. J at 135-137.
           12             Finally, Plaintiffs rely on a paragraph from Kiani’s declaration to argue that they
           13       have been harmed because (1) Apple’s purported misappropriation has had a
           14
           15                                          The assertions do not even attempt to tie Plaintiffs’
           16       harm to the specific purported         secrets at issue in this motion and, in any event,
           17       are too “conclusory [and] self-serving” to move the needle at the summary judgment
           18       stage. See Publishing Clearing House, 104 F.3d at 1171.
           19                                               CONCLUSION
           20             The Court should deny Plaintiffs’ motion in its entirety.
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                                                  #:95161

             1      Dated: January 12, 2023                 Respectfully submitted,
             2
             3                                              MARK D. SELWYN
             4                                              AMY K. WIGMORE
                                                            JOSHUA H. LERNER
             5                                              SARAH R. FRAZIER
             6                                              NORA Q.E. PASSAMANECK
                                                            THOMAS G. SPRANKLING
             7                                              WILMER CUTLER PICKERING HALE AND
             8                                              DORR LLP
             9                                              BRIAN A. ROSENTHAL
           10                                               GIBSON, DUNN & CRUTCHER LLP
           11                                               KENNETH G. PARKER
           12                                               HAYNES AND BOONE, LLP
           13
           14
                                                            By: /s/Mark D. Selwyn
           15                                                   Mark D. Selwyn
           16
           17                                               Attorneys for Defendant Apple Inc.
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             1                               CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 6,983 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1.
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: January 12, 2023                 Respectfully submitted,
             8
                                                            MARK D. SELWYN
             9                                              AMY K. WIGMORE
           10                                               JOSHUA H. LERNER
                                                            SARAH R. FRAZIER
           11                                               NORA Q.E. PASSAMANECK
           12                                               THOMAS G. SPRANKLING
                                                            WILMER CUTLER PICKERING HALE AND
           13                                               DORR LLP
           14
                                                            BRIAN A. ROSENTHAL
           15                                               GIBSON, DUNN & CRUTCHER LLP
           16
                                                            KENNETH G. PARKER
           17                                               HAYNES AND BOONE, LLP
           18
           19                                               By: /s/ Mark D. Selwyn
                                                                Mark D. Selwyn
           20
           21
                                                            Attorneys for Defendant Apple Inc.
           22
           23
           24
           25
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           27
           28
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